       Case 1:14-cr-00026-AT-JKL Document 93 Filed 07/26/18 Page 1 of 2
              Case: 18-11236 Date Filed: 07/26/2018 Page: 1 of 1


                IN THE UNITED STATES COURT OF APPEALS

                          FOR THE ELEVENTH CIRCUIT
                            ________________________

                                 No. 18-11236-EE
                            ________________________

UNITED STATES OF AMERICA,

                                                                     Plaintiff-Appellee,

                                         versus

NICHOLAS NARBONE

                                                                 Defendant-Appellant.
                            ________________________

                    Appeal from the United States District Court
                       for the Northern District of Georgia
                          ________________________

BEFORE: TJOFLAT, MARTIN, and JILL PRYOR, Circuit Judges.

BY THE COURT:

      The Government’s motion to dismiss this appeal pursuant to the appeal

waiver in Appellant’s plea agreement is GRANTED. See United States v. Bushert,

997 F.2d 1343, 1350-51 (11th Cir. 1993) (sentence appeal waiver will be enforced

if it was made knowingly and voluntarily); United States v. Grinard-Henry, 399

F.3d 1294, 1296 (11th Cir. 2005) (waiver of the right to appeal includes waiver of

the right to appeal difficult or debatable legal issues or even blatant error).
                 Case 1:14-cr-00026-AT-JKL Document 93 Filed 07/26/18 Page 2 of 2
                        Case: 18-11236 Date Filed: 07/26/2018 Page: 1 of 1


                                  UNITED STATES COURT OF APPEALS
                                     FOR THE ELEVENTH CIRCUIT

                                     ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                   56 Forsyth Street, N.W.
                                                   Atlanta, Georgia 30303


David J. Smith                                                                                        For rules and forms visit
Clerk of Court                                                                                        www.ca11.uscourts.gov


                                                   July 26, 2018

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 18-11236-EE
Case Style: USA v. Nicholas Narbone
District Court Docket No: 1:14-cr-00026-AT-JKL-2

This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF")
system, unless exempted for good cause. Enclosed is a copy of the court's decision filed today in this appeal.
Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a later date in
accordance with FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition
for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for
inmate filings, a petition for rehearing or for rehearing en banc is timely only if received in the clerk's office
within the time specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing,
format, and content of a motion for attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2
and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a
complete list of all persons and entities listed on all certificates previously filed by any party in the appeal. See
11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be reheard must be included in any petition for
rehearing or petition for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for
time spent on the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme
Court of a petition for writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA
Team at (404) 335-6167 or cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the
eVoucher system.

For questions concerning the issuance of the decision of this court, please call the number referenced in the
signature block below. For all other questions, please call Elora Jackson, EE at (404) 335-6173.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Jeff R. Patch
Phone #: 404-335-6161

                                                                                    OPIN-1 Ntc of Issuance of Opinion
